Case 2:02-CV-02891-BBD Document 89 Filed 05/11/05 Page 1 0f'27 Page|D 94

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|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESS’E ' ",`
WESTERN D|V|S|ON

 

J|T CONCEPTS, |NC.
P|aintiff,
v. No.: 02-2891-Dv

SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Defendant.

 

JOINT PRE-TRIAL ORDER

 

A pretrial Conference is scheduled in this matter for 8:45 a.m.

on Wednesday, May ll, 2005, before the Honorable Bernice Donald,

United States DiStrict Judge.

THE PARTIES
The following counsel will be appearing:
A. For the Plaintiff:

Michael G. McLaren

Sherry S. Fernandez

Black, McLaren, Jones & Ryland
530 Oak Court Drive, Suite 310
Memphis, Tennessee 38117

(901) 762-0535

B. For the Defendants:

Thomas W. Lewis
Donna L. Boyce
Sara Falkinham

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Case 2:02-CV-02891-BBD Document 89 Filed 05/11/05 Page 2 of 27 Page|D 95

Armstrong Allen, PLLC
80 Monroe Avenue, Suite 700
Memphis, Tennessee 38103
(901) 524-4926
PLEADINGS
The Pleadings are amended to conform with this Pretrial Order.
JURISDICTION
Jurisdiction is proper in this Court, as this matter is brought
pursuant to 28 U.S.C. § 1332.
PENDING MOTIONS
Plaintist Motions in Limine are currently pending before the
Court.
STATUS OF DISCOVERY
All discovery is complete at this time.
SETTLEMENT NEGOTIATIONS
The parties participated in mediation on November 22, 2004. The
mediation was not successful and the parties have not engaged in any
settlement negotiations since mediation.
CONTENTIONS OF PLAINTIFF
l. That in December 1999, JIT and The MED entered into a
contract whereby JIT would. provide services, including but not
limited to, bronchoscopy and laparoscopy, for The MED. The contract

was to run between January l, 2000, and December 31, 2004.

2. The Contract was a valid contract between the parties.

Case 2:02-CV-02891-BBD Document 89 Filed 05/11/05 Page 3 of 27 Page|D 96

3. The Contract did not provide for unilateral termination of
the Contract.

4. The Contract provided that:

JIT shall rectify, within 60 days, any
problems/concerns for the HOSPITAL [The MED]
upon receipt of written notice of said concern.

5. In or about May 2002, The MED requested a proposal from
Stryker Corporation and Stryker Endoscopy for a contract to replace
JIT and provide services that JIT had contracted to provide for The
MED pursuant to the Contract between JIT and The MED.

6. During the late spring, summer and early fall of 2002, The
MED and Stryker Corporation and Stryker Endoscopy were engaged in
negotiations over a new contract whereby Stryker Corporation and
Stryker Endoscopy would replace JIT and provide the services to The
MED that JIT had contracted to provide The MED.

7. Stryker Corporation and Stryker Endoscopy offered The MED
lower prices for services and offered to provide new equipment to The
MED in exchange for obtaining the contract with The MED.

8. In early October 2002, Stryker and The MED reached an
agreement for Stryker to provide the services to The MED that JIT had

contracted to provide to The MED.

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 4 of 27 Page|D 97

10. On October 21, 2002, after The MED and Stryker reached
their agreement, The MED notified JIT that The MED was terminating
the Contract with JIT effective November 21, 2002.

ll. On October 22, 2002, JIT requested, in writing, for The MED
to specify, in writing, any problems/concerns of The MED with the
services provided by JIT pursuant to the Contract between JIT and The
MED. JIT specifically requested it be given its sixty (60) day cure
period as specified in the Contract.

12. JIT has suffered monetary damages as a result of The MED's
breach of the Contract.

CONTENTIONS OF THE DEFENDANT

The Med is a hospital, including a regionally recognized trauma
center, which is located. in. Memphis, Tennessee. The Med is a
teaching facility in which medical students and post-graduate
residents receive medical education and training offered by various
faculty members of the University of Tennessee School of Medicine.
The Med is a significant source of hospital care and medical
treatment for ennumerable insured and uninsured patients throughout
the Mid-South, who might otherwise not have access to necessary
hospital care and medical services. At all times, The Med strives to
provide its patients with the highest possible level of hospital

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Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 5 of 27 Page|D 98

The physicians who practice at The Med, including those
physicians who are members of the University of Tennessee medical
school's faculty, are not employees of The Med. Rather, they are
independent practitioners who enjoy hospital privileges at The Med.
However, such physicians have significant input as to patient care
concerns and The Med seeks and relies on their opinions, as pertains
to patient care, in making certain business decisions.

Annually, thousands of surgeries and related medical procedures
of various natures and types are performed at The Med. These include

conventional and traditionally recognized surgeries, as well as more
recently developed minimally invasive surgeries, which offer the
patient a lower incidence of complications, shorter hospital stays,
and generally faster recovery time. With advances in medical
science, an increasing number of surgeries, which had been performed
using more conventional and traditional means, can now be performed
by means of minimally invasive surgery. In certain circumstances,
The Med relies on outside contractors, sudh as JIT, to provide
support for surgical services. The Med relies upon the expertise of
such contractors to deliver quality patient care.

Prior to December 31, 1999, JIT provided certain conventional
and minimally invasive surgical support services at The Med on an

invoice basis. Pursuant to the relationship which existed in that

5

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 6 of 27 Page|D 99

time period, JIT would provide equipment and support services with
respect to surgeries being performed at The Med and would then submit
an invoice to The Med for payment. At some point, JIT apparently
believed that the invoice arrangement was no longer acceptable from a
business standpoint and requested that JIT and The Med enter into a
longer term contract.

As a result of JIT's request, the parties ultimately agreed to a
contract with a term of January l, 2000 through December 31, 2004.
The contract was drafted by JIT, such that any ambiguities in the
contract should be construed most strongly against JIT. Among other
terms, the contract specifically provided:

JIT shall rectify, within 60 days, any problems/concerns
for the HOSPITAL [The MED] upon receipt of written notice
of said concern. (Emphasis Added)

Although. the quoted. passage contemplates written. notice of
problems or concerns, the evidence elicited during discovery
establishes that the course of performance between the parties was
such that JIT expected to respond to verbal notices of complaints or
problems, in addition to those which were placed in writing.

Initially, JIT performed reasonably well under the new
contractual relationship. The equipment JIT provided at The Med was
relatively new and in good, servicable condition. Additionally, the

equipment was well supported by JIT's technicians.

6

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 7 of 27 Page|D 100

Unfortunately, as time passed, the level of JIT's equipment and
services declined noticably. It was evident that JIT was either
unwilling or unable to invest the sums of money necessary to purchase
new equipment or maintain existing equipment as the needs of The Med
required. Additionally, the physicians and clinical staff at The Med
also had complaints regarding the level of support they were
receiving from JIT's technicians. The inadequate performance of
JIT's equipment and personnel became an issue of patient safety. The
evidence at trial will establish that the medical staff was
frequently unable to visualize surgical fields through JIT's optical
scopes, because those scopes were dirty, had become cloudy, or had
otherwise fallen into disrepair. There is evidence of at least one
surgery which had been planned as a minimally invasive procedure, but
was converted to a general surgical procedure due to the inadequacies
of equipment supplied by JIT.

Based upon the course of performance between the parties, these
types of problems were frequently brought to the attention of JIT's
on-site staff verbally, but were never adequately corrected. In late
2001, The Med requested that representatives from JIT's home office
in Ohio travel to Memphis to meet with Med administrators and
clinicians regarding the problems with JIT's equipment and technical

support. Although JIT's President and National Clinical Manager made

7

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 8 of 27 Page|D 101

the trip from Ohio, inexplicably, JIT elected not to include its site
manager in the meeting. During this meeting, The Med's clinical
staff discussed a number of areas of dissatisfaction with JIT's
representatives and insisted that immediate action be taken by JIT to
rectify The Med's concerns. During the meeting, when asked how The
Med could terminate the relationship with JIT, JIT's president, Jack

Coenen, simply stated. "you can't", thereby' indicating a total
disregard for The Med's concerns as to the quality of JIT's services
and equipment and the patient care risks presented thereby.

In the wake of the meeting, JIT's National Clinical Manager, Tom
Hink, remained on-site at The Med for approximately one week to
monitor JIT's equipment and services. However, notwithstanding the
magnitude of The Med's concerns, both. Mr. Hink and JIT's site
manager, Marilyn Rucker, have testified that JIT did not make any
significant changes in its services following the meeting.

For a period after the meeting, The Med's representatives noted
some degree of improvement in JIT's equipment and services. However,
thereafter, JIT's services and equipment quickly returned to the
unacceptable level that had resulted in the meeting in late 2001. As
a result, The Med considered the possibility of replacing JIT with
another contractor which was prepared to meet The Med's requirements

as to equipment and technical support.

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 9 of 27 Page|D 102

At approximately the same time, members of the faculty of the
Department of Surgery at the University of Tennessee Medical School
were exploring the possibility of establishing a regional center for
minimally invasive surgery at The Med. The chairman of the
University's Department of Surgery, Dr. Timothy Fabian, solicited
proposals from a number of possible contractors for purposes of this
project. While JIT might otherwise have been considered for this
project, due to the historic concerns regarding JIT's equipment and
service, no serious consideration was given to including JIT in the
request for proposals. Again, it is to be noted that the
University's medical school faculty were not employees of The Med for
purposes of this process, although, over time, as physicians
practicing at the hospital, they certainly had noted their
displeasure with JIT's equipment and services. The Med reasonably
relied upon their expertise and sincerity in making those complaints
regarding JIT.

Problems with JIT's equipment and services continued to be noted
throughout the spring and summer of 2002. Representatives of The Med
began to document, in writing, various complaints regarding JIT.
These written. notices of complaint were shared_ with JIT's site
manager, Marilyn Rucker. Unfortunately, JIT generally failed to

rectify the various complaints and concerns of which. they were

9

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 10 of 27 Page|D 103

notified. During this time, The Med's representatives determined
that JIT's services would have to be terminated based upon patient
safety concerns.

By October, 2002, The Med reached a decision to terminate JIT's
services and replace JIT with Stryker Corporation/Stryker Endoscopy.

At that time, The Med and Stryker entered into a contract. On
October 21, 2002, The Med sent written notice to JIT terminating its
services effective on November 21, 2002.

Throughout this litigation, JIT has attempted to make much of
the fact that The Med reached an agreement with Stryker before
notifying JIT of the termination of JIT's services. While this is
true, The Med elected to enter into a contractual relationship with
Stryker before terminating JIT's services out of concern for the
safety and welfare of The Med's patients. The Med was fearful that,
if JIT was told of its termination before a contractual understanding
had been reached with Stryker, JIT would simply discontinue services
at The Med, thereby leaving The Med without any surgical support. As
against this risk, The Med contracted with Stryker and made
arrangements for Stryker to provide services on an emergency basis if
JIT elected to immediately discontinue service at The Med.

STIPULATED FACTS

1. A valid contract existed between JIT and The MED.

10

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 11 of 27 Page|D 104

2. On October 21, 2002, The Med sent a letter to JIT stating

that the contract would be terminated 30 days from the date of the

letter.
DISPUTED FACTS
1. Whether The Med provided written notice to JIT of

problems and concerns regarding JIT's equipment and services;
2. Whether The Med provided JIT with verbal notice of

problems and concerns regarding JIT's equipment and services;

3. Whether the parties course of performance of the subject
contract reached a point where The Med would afford verbal notice
and JIT would act on verbal notice;

4. Whether JIT rectified any and all problems or concerns of
The Med within 60 days of JIT's receipt of written notice;

5. Whether JIT rectified any and all problems or concerns of
The Med within 60 days of its receipt of verbal notice;

6. The nature, extent, and scope of the various problems
with JIT's equipment and services;

7. Whether the deficiencies in JIT's equipment and services
presented patient safety hazards;

8. The basis for The Med's decision to terminate JIT's

contract;

ll

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 12 of 27 Page|D 105

9. Whether The Med's decision to terminate JIT's contract
was pretexual in nature;

lO. The basis for The Med's decision to enter into a
contractual relationship with Stryker;

ll. The basis for the timing of The Med's decision to
terminate JIT's services;

12. Whether JIT actually rectified any problem or concern of
the hospital;

13. The sufficiency of equipment provided by JIT at The Med;

14. The sufficiency of technical support provided by JIT at

The Med;

15. The amounts spent by JIT to purchase new equipment or
upgrade existing equipment used at The Med;

16. The amount of profit, if any, JIT has lost as a result of
the termination of its contract;

17. The appropriate method for measuring JIT's claimed monetary
damages;

CONTESTED ISSUES OF LAW
The contested issues of law are as follows:

A. Plaintiff

12

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 13 of 27 Page|D 106

1. Whether The MED breached the contract as a matter of

law.

2. Whether The MED provided proper notice to JIT as

required by the contract.

B. Defendant
1. Whether The Med breached the contract as a matter of
law;
2. Whether JIT breached the contract as a matter of law;
3. The nature of the notice required to express The Med's

problems/concerns pursuant to the contract;

4. Whether the parties' course of performance of the
contract has resulted in the parties' waiver of a written notice
requirement;

5. Whether The Med is entitled to a jury instruction that

JIT's failure to rectify any problem or concern of The Med, within
60 days of receipt of written notice, justified The Med's termination
of the subject agreement;

6. The appropriate means by which the court should
determine whether JIT had actually rectified any problem or concern
expressed. by The Med (i.e., whether the applicable standard is

objective or subjective);

13

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 14 of 27 Page|D 107

7. Whether The Med's representatives are the sole source
of competent, material and relevant evidence as to whether JIT had
rectified any problems or concerns expressed by The Med;

8. As a matter of evidence, whether any testimony by
JIT's representatives that they had actually rectified problems or
concerns expressed by The Med constitute inadmissible speculation;

9. The legal measure of any monetary loss or damage JIT
has sustained as a result of the termination of the subject contract
and the appropriate legal means of computing such loss.

EVIDENT IARY DI SPUTES

 

A. Plaintiff
1. The Undated Letter should be excluded from the trial.
2. The letter from Randy Littleton to Marilyn Ruckerl

dated July 8, 2002, should be excluded from trial.

3. The memorandum dated September 3, 2002, should be
excluded from trial.

4. The testimony' of physicians other than Dr. Madan
should be excluded from trial.

B. Defendant

1. It is The Med's position that the plaintiff's four

pending motions in limine should be denied by the court for reasons

set forth in The Med's opposition memorandum;

14

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 15 of 27 Page|D 108

2. As set forth in the above referenced disputed issues
of law, The Med. respectfully' requests that this court consider
whether the contractual standard by which JIT must demonstrate that
it "rectified" any problem or concern of The Med is objective or
subjective. If deemed to be subjective, this court should consider
the resulting issue as to whether any testimony by JIT that it in
fact "rectified" any problem or concern of The Med would constitute
inadmissible speculation.

PROPOSED EXHIBITS

 

The following is a list and brief description of all exhibits to
be offered into evidence by the respective parties, (except exhibits
to be used for impeachment only). For all the listed exhibits, the
parties stipulate that the documents are authentic, and these do not
have to be authenticated by a keeper of the records.

A. Proposed Exhibits That May Be Offered by Plaintiff.
Plaintiff reserves the right to withdraw exhibits contingent upon the
Court's rulings on Plaintiff's pending Motions in Limine:

P-l Contract between JIT and The MED
P-2 Invoices and Transfer Forms

P-3 July 16, 2002, letter from Linda Duncan to Marilyn
Rucker

P-4 August 29, 2002, letter from Jack Coenen to Linda
Duncan

15

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 16 of 27 Page|D 109

hearsay)

Plaintiff

October 21, 2002, letter from The MED to JIT

October 22, 2002, letter from Jack Coenen to The MED
July 18, 2002, email from Dr. Madan to Linda Duncan
July 23, 2002, email from Dr. Madan

July 24, 2002, email from Rick Barnett to Dr. Madan
and Dr. Madans reply

August 6, 2002, email from Dr. Madan, to Linda Duncan
and reply from Dr. Madan

September 9, 2002, email from Linda Duncan to Dr.
Madan (Defendant objects to this exhibit on the basis
Of FRE 403).

June 30, 2002, email to Dr. Fabian about supper with
Dr. Madan

July 14, 2002 emails to and from Dr. Madan

July 15, 2002, email from Hollie Cardosi (Objection:

Madan preference list
Madan preference list with Marilyn Ruckefs notes
Mercer Reports

reserves the right to utilize any exhibits identified

by the Defendants.

B. Proposed Exhibits That May Be Offered by Defendant.

l.

Contract between JIT and The Med

16

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 17 of 27 Page|D 110

2. July 16, 2002 letter from Linda Duncan to Marilyn
Rucker.

3. October 21, 2002 letter from The Med to JIT

4. July 15, 2002 letter from Atul Madan, M.D. to Linda
Duncan.

5. July 23, 2002 letter from Atul Madan, M.D. to Linda
Duncan.

6. September l, 2002 letter from Atul Madan, M.D. to Linda
Duncan.

7. September 3, 2002 memorandum from Linda Duncan to
Marilyn Rucker.

8. Undated letter, circa June 19, 2002 from Linda Duncan
to Marilyn Rucker.

9. Original and reply reports of Cannon Ivy.

10. Charts, graphs, and tables contained in the various
Cnanon Ivy reports.

11. Charts, graphs, and tables contained in the various
Mercer reports.

12. Letter from Randy Littleton of OSI to Marilyn Rucker,
dated July 8, 2002.

13. August 8, 2002 letter from Elizabeth Pritchard, M.D.

to Linda Duncan.

17

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 18 of 27 Page|D 111

14. Any exhibit identified by plaintiff.
15. Any exhibit necessary for impeachment.

CHARTS, GR.APHS AND DIAGRAMS

 

The following is a list and brief description of any charts,
graphs, models, schematic diagrams, and similar objects which will be
used in opening statements or closing statements and for illustration
purposes during testimony, but which will not be offered into
evidence:

A. Plaintiff

1. Exhibits attached to the Mercer Capital Report
(Although plaintiff reserves the right to introduce these into
evidence).

2. Timeline of events from the inception of the Contract
through the termination_ of the Contract. (Although. plaintiff

reserves the right to introduce these into evidence).

Plaintiff reserves the right to amend this list upon the Court's
ruling on Plaintiff's pending Motions in Limine and reserves the
right to use any charts, graphs, models, schematic diagrams, and
similar objects that are identified by Defendants.

B. Defendant

18

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 19 of 27 Page|D 112

1. Exhibits attached. to Cannon. Ivy' reports (although
defendant reserves the right to introduce these into evidence).

2. Exhibits attached to Mercer Capital Report (although
defendant reserves the right to offer these into evidence).

3. Defendant reserves the right to rely on any
demonstrative aids utilized or identified by plaintiff.

WITNESSES
The following is a list of witnesses whom the parties anticipate

calling at the trial (excluding witnesses to be used solely for
rebuttal or impeachment). All listed witnesses must be present to
testify when called by a party unless specific arrangements are made
with the trial judge prior to commencement of trial. The listing of
a WILL CALL witness herein constitutes a representation, upon which
opposing counsel may rely, that the witness will be present at trial
in the absence of reasonable written notice to opposing counsel to
the contrary. The list of a MAY CALL witness constitutes a
representation that counsel reasonably expects to call the witness at

trial, but is not bound to do so.

 

A. Plaintist Witness List
1. Will Call
a. Jack Coenen
b. Marilyn Rucker

19

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 20 of 27 Page|D 113

c. Brent McDade and/or Owen Johnson
2. May Call

a. Thomas Hink

b. Susan Raburn

c. Atul Madan, M.D.

d. Linda Duncan

e. Rick Barnett

Plaintiff reserves the right to call any witness listed by

Defendant.

B. Defendan€s Witness List

l. Will Call
a. Linda Duncan, R.N.

2. May Call
a. Martin Croce, M.D.
b. Elizabeth Pritchard, M.D.
c. Timothy Fabian, M.D.
d. Susan Rayburn, R.N.
e. Robert Yates, M.D.
f. Gary Lipscomb, M.D.
g. George Wood, M.D.

20

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 21 of 27 Page|D 114

h. Randy Littleton

i. Judson W. Cannon and/or Richard A. Blount of Cannon
IVY

j. Jack Coene

k. Marilyn Rucker

l. Thomas Hink

m. Hollie Cardozi

n. Atul Madan, M.D.

o. Linda Pulley, R.N.

p. any witness listed by plaintiff

q. any witness necessary for impeachment

r. any witness necessary to authenticate any document

No exhibit or testimony of any witness, not identified in this

Pre-Trial Order, will be admitted into evidence except upon good

cause shown.

 

C. Will Testify By Deposition:
1. Plaintiff:
a. Linda Duncan, portions of deposition as follows:

5:6-7, 16-22; 7:18-20; 11:21-25; l9:l7*25; 20:1-25; 21:1-20; 25:21-
25; 26-27; 28:1; 29:11-25; 3011-10; 31:4-10; 32:25; 33:1~8; 36:4-14;
37-38; 39:1-4; 66:19-25; 67-68; 69:1-3; 71:10-25; 72-73; 74:1-15;
75:1-25; 76:20-25; 77-78; 79:1-9, 23-25; 80~81; 82:7-25; 83:1-14;

21

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 22 of 27 Page|D 115

84:1-25; 8521-22; 86:1-25; 87:1-12, 20-25; 8821-25; 89:1-17, 23-25;
90-93; 94:5-25; 95-96; 97:1-8; 98:9-25; 99:20-25; lOO-lOl; 102:1-9,
19-25; 103:1-25; 104-110; lll:l-lO; 112:20-25; 113-116; 117:10-25;
118:1~25; ll9:l'19; 120:8-25; 121-122; 123:1-8; 124115-25; 125-126;
127-131; 132:1-2; 136-137; 138:1-2; 143:10-25; 144:1-25; 145:1-8, 15-
25; 146-150; 151:1-2; 152-155; 156:1-8, 12-16; 157:5-25; lBB:l-lO,
16-23; 1592 8-25; 160:1-24; 161:25; 162:1-20, 25; 163:1-23; 165:23a
25; 166-169; 170:1-12. (Defendant objects to the referenced
designations to the extent that the referenced passages include
hearsay testimony as to statements made by others in either a verbal
or written form).
b. Rick Barnett, portions of deposition as follows:
5:6-8; 6:5-16; 36:13-25; 37:1-6; 48:4-6; 54:13-18, 24-25; 55:1-25;
56:1-14; 60:15-25; 61:1-25; 62:19-25; 63:1-23; 66:19-25; 6721-4;
74:13-25; 7521-25; 76:1-16; 77:24-25; 78:1-29. (Defendant ObjeCtS to
the referenced designations to the extent that the referenced
passages include hearsay testimony as to statements made by others in
either a verbal or written form).
Plaintiff reserves the right to amend this list upon the
Court's ruling on Plaintiff's pending motions in limine.
Indicate whether the entire deposition, or only portions

thereof, will be used. Not later than the day of trial, counsel

22

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 23 of 27 Page|D 116

shall confer for the purpose of resolving all controversies
concerning depositions. All such controversies not so resolved shall
be submitted to the trial judge not later than the day of trial. All
objections not submitted within that time are waived.
Plaintiff reserves the right to introduce all or portions of the

following depositions:

a. ThOmaS Hink, 3:18-23; 15:15-25; 16-32; 33:1»3; 47:1-
25; 48:1-17; 52:13-25; 53:1-25; 54:15; 67:1-19; 69-97; 98:1-12;
100:21-25; 102:1-25; 103:1-2; 106:10-25; 107-109; llO:l-ZO.

b. Atul Madan, M.D., 5:6-12; 22:19-24; 23:1-14; 31:10-24;
32:1-12, 14-24; 33:1-24; 37:11-24; 38:1-7; 39:1-24; 40:1-8; 46:17-24;
47:1-8; 53:22-24; 54~60: 61-63; 64:1-2; 86:17-12. (Defendant Objects
to the reading of all cited excerpts of the deposition of Atul Madan,
M.D. on the basis of hearsay).

C. Susan Raburn, 5:6»11; 17:6-25; 18:1-7, 26:16-25; 27-
29.

Defendant reserves the right to introduce all or portions of the

following depositions:

a. Thomas Hink, all portions cited by plaintiff and
SpeCifiCally, 69-97; 100:21-25; 101:1-25; 102:1-18.

TRIAL

23

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 24 of 27 Page|D 117

This is a jury trial to be tried before the Honorable Bernice
Donald. Counsel estimate the length of trial will be five (5) days.

This pre-trial order has been formulated at a pre-trial
conference before the United States District Judge, notice of which
was duly served upon all partiesr and at which the parties attended
as hereinabove shown. Reasonable opportunity has been afforded for
corrections or additions prior to signing. This order will control
the course of the trial, as provided by Rule 16, Federal Rules of
Civil Procedure, and it may not be amended except by consent of the
parties and the Court, or by order of the Court to prevent manifest

injustice.

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DATE= ‘%Y]M, //,, 200‘{

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AGREED :

 

Michael G. McLaren

Sherry S. Fernandez

Attorneys for Plaintiff

Black, McLaren, Jones & Ryland
530 Oak Court Drive, Suite 310
Memphis, TN 38117

(901) 762-0535

24

Case 2:02-CV-O2891-BBD Document 89 Filed 05/11/05 Page 25 of 27 Page|D 118

 

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Filed 05/11/05 Page 27 of 27 Page|D 120

